Case 4:23-cv-00371-O-BP Document 20 Filed 05/02/23                 Page 1 of 10 PageID 146



                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS


                                  Cause No.: 4:23-cv-00371




LEWIS BROOKS MCKENZIE,                        )    In a removal from the 233rd Judicial
 Plaintiff-Petitioner,                        )    District Court of Tarrant County, TX
                                              )    State case number: 233-651265-18
v.                                            )
                                              )
STATE OF TEXAS, HOLLY HAYES, and              )    FORMAL DEMAND FOR JURY TRIAL
KELLI MARIE (RAYBURN) MCKENZIE,               )
 Defendant-Respondents.                       )    CONSTITUTIONAL CHALLENGES
                                              )
                                              )    INJUNCTIVE RELIEF REQUESTED


 Amended Emergency Motion to Quash Post-Removal State Court Orders

     Comes now the removal Petitioner, Lewis Brooks McKenzie, requests this Honorable

Court QUASH null and void orders entered without jurisdiction in this matter by the State

court. Hearings proceeded and a Capias warrant issued by the State Court after Petitioner

removed this State case to Federal jurisdiction.


          Motion to Quash All State Court Orders Issued Post-Removal

     This Emergency Motion to Quash is sought as the Plaintiff is living everyday under an

unlawful, politically motivated Capias warrant that was issued illegally after Federal

removal. This is a clear case of official oppression and criminal conduct by the

Defendants.

     Petitioner removed the referenced State case on April 17, 2023. Removal places an


                                              1
Case 4:23-cv-00371-O-BP Document 20 Filed 05/02/23                   Page 2 of 10 PageID 147



automatic stay upon the state court during the pendency of removal jurisdiction within the

federal court. 28 USC § 1446(d). Those orders are strictly void ab initio, as there was no

jurisdiction by this state court during the pendency of removal, and they are still void ab initio

even if the removal was unsuccessful.

   The State court, Defendant Holly Hayes, and all other parties were made aware that

this case had been removed to Federal Court. Subsequent to this lawful removal to Federal

court, and after being notified via the eFile Texas system and direct emails where possible,

the State court, in apparent collaboration with Defendant Hayes, issued a Capias warrant

for this Plaintiff. This pattern of behavior by the State courts in Tarrant County is

evidenced in the State court’s refusal to follow State and Federal laws in this case since

its inception in 2018.

   The very same rogue courts of Tarrant County and Texas, via its officers (judges

opposing counsels, Texas Office of Attorney General and its employees, state and county

actors, etc.), were already fully aware of the legal effect of removing any jurisdiction of

State courts and actors, whilst removal into federal court is pending.

   On April 17th, 2023 this instant removal action was filed, with obligatory state court

Notice filed the same date with the state court clerk (eFiled with service to listed parties),

Defendants were duly served of same, and Defendant Hayes was emailed a copy of the

removal. See Docket.        At that point, Defendants chose to ignore the removal and

continue, in violation of law; See Exhibits A and B.

   This Court should now QUASH all such state court orders and entries for total lack of

jurisdiction during removal to this federal Court.

                                                 2
   Case 4:23-cv-00371-O-BP Document 20 Filed 05/02/23                    Page 3 of 10 PageID 148



           THE STATE COURT ORDERS ISSUED DURING REMOVAL
                                     ARE VOID AB INITIO
1. Proper completion of all removal procedural steps by the state court defendant perfects the

   removal of state court jurisdiction into the federal court, and that any state court action

   attempted during pendency of removal is absolutely void. This fact is well and universally

   understood by federal and state courts all across the nation.

2. Federal removals are governed by 28 U.S.C. § 1446. 28 U.S.C. § 1446(d) dictates that, once a

   case is removed, the state court case can “proceed no further unless and until the case is

   remanded.” Extensive federal and state precedent has determined and affirmed that two (2) filing

   steps complete and perfect the removal, and so establish federal jurisdiction and remove state

   court jurisdiction: “Since the adoption of § 1446, it has been uniformly held that the state court

   loses all jurisdiction to proceed immediately upon the filing of the petition in the federal court

   and a copy in the state court.” South Carolina v. Moore, 447 F.2d 1067, 1073 (4th Cir. 1971),

   citing Hopson v. North American Insurance Co., 71 Idaho 461, 233 P.2d 799; State ex rel.

   Gremillion v. NAACP, La. App., 90 So.2d 884; Bean v. Clark, 226 Miss. 892, 85 So.2d 588; State

   v. Francis, 261 N.C. 358, 134 S.E.2d 681; Schuchman v. State, Ind., 236 N.E.2d 830; Adair

   Pipeline Co. v. Pipeliners Local Union No. 798, 325 F.2d 206 (5th Cir. 1963).

3. Moreover, the possibility and/or fact of subsequent remand by the federal court is irrelevant to

   the fact of temporary removal of state court jurisdiction into the federal court, i.e., even if the

   removal is ineffective, orders entered by the state court during the period of removal jurisdiction

   are still void for lack of jurisdiction. Even if a case is eventually ruled to be not removable, “the

   proceedings in the state court in the interval between the filing and service of the removal petition

   and the remand order [are] void.” South Carolina v. Moore at 1069. In the same ruling, the Fourth

   Circuit elaborated that “any proceedings in the state court after the filing of the petition and prior

                                                    3
   Case 4:23-cv-00371-O-BP Document 20 Filed 05/02/23                     Page 4 of 10 PageID 149



   to a federal remand order are absolutely void, despite subsequent determination that the removal

   petition was ineffective.” Id. at 1073. The Fourth Circuit reconfirmed these holdings of its prior

   decision, in Ackerman v. ExxonMobil, by ruling:

        Because § 1446(d) explicitly states that ‘the State court shall proceed no further’ once
        removal is effected, 28 U.S.C. §1446(d), we agree with the Defendants that the
        statute deprives the state court of further jurisdiction over the removed case and that
        any post-removal actions taken by the state court in the removed case action are void
        ab initio. See South Carolina v. Moore, 447 F.2d 1067, 1072-73 (4th Cir. 1971);
        accord Polyplastics, Inc. v. Transconex, Inc., 713 F.2d 875, 880 (1st Cir. 1983).


        – Kenneth Ackerman v. ExxonMobil Corporation, 12-1103 at 16 (4th Cir. 2013).


4. The Fifth Circuit also “super-reaffirmed” the Fourth Circuit’s ruling in Moore:

        In National Steam-Ship Co. v. Tugman, 106 U.S. 118, 1 S. Ct. 58, 27 L. Ed. 87
        (1882), the Supreme Court held that the removal of a case from state court to federal
        court ends the power of the state court to act. Upon the filing, therefore, of the petition
        (for removal) and bond ... the jurisdiction of the state court absolutely ceased, and
        that of the circuit court immediately attached. The duty of the state court was to
        proceed no further in the case. Every order thereafter made in that court was coram
        non judice, unless its jurisdiction was actually restored. 106 U.S. at 122, 1 S.Ct. at
        60. See Johnson v. Estelle, 625 F.2d 75, 77 (5th Cir. 1980) (per curiam); South
        Carolina v. Moore, 447 F.2d 1067, 1073 (4th Cir. 1971); Allman v. Hanley, 302 F.2d
        559, 562 (5th Cir. 1962). The jurisdiction of the state court is not restored unless and
        until the federal court remands the case. Lowe v. Jacobs, 243 F.2d 432, 433 (5th Cir.
        1957), cert. denied, 355 U.S. 842, 78 S. Ct. 65, 2 L. Ed. 2d 52 (1957). A state court
        judgment in a case that has been removed may not foreclose further federal
        proceedings in the removed case and the federal court may enjoin a party from
        enforcing the state court judgment. Adair Pipeline Co. v. Pipeliners Local Union No.
        798, 325 F.2d 206 (5th Cir. 1963); Roach v. First National Bank of Memphis, 84
        F.2d 969 (5th Cir. 1936).


        – E. D. Systems Corporation v. Southwestern Bell Telephone Company, 674 F.2d
        453 at §§ 19-21 (5th Cir. 1982)


5. See also, e.g., California ex rel. Sacramento Metro. Air Quality Mgmt. Dist. v. United States,


                                                     4
   Case 4:23-cv-00371-O-BP Document 20 Filed 05/02/23                    Page 5 of 10 PageID 150



   215 F.3d 1005, 1011 (9th Cir. 2000) (“The removal of an action to federal court necessarily

   divests state and local courts of their jurisdiction over a particular dispute.”); Maseda v. Honda

   Motor Co., 861 F.2d 1248, 1254 (11th Cir. 1988) (“[A]fter removal, the jurisdiction of the

   state court absolutely ceases and the state court has a duty not to proceed any further in the

   case.”); Kane v. St. Raymond’s Roman Catholic Church, No. 14-CV-7028 AJN, 2015 WL

   4270757, at *3 (S.D.N.Y. July 13, 2015) (Nathan, J.) (“Under 28 U.S.C. § 1446(d), all state-

   court proceedings must cease once a notice of removal has been filed, unless and until the

   action is remanded to the state court.”).

6. It is not just universally the federal courts, but the state courts at large across America also

   understand and agree that state court orders entered during pendency of removal are void.

7. See, e.g., Farm Credit Bank of St. Paul v. Rub, 481 N.W.2d 451, 456 (N.D. 1992) (“The current

   removal statute provides that, upon a filing of a notice of removal, “the State court shall

   proceed no further unless and until the case is remanded.” 28 U.S.C. § 1446(d). As a general

   rule, “a state court adjudication, while a removal petition is pending in federal court, is void,

   even if the federal court subsequently determines that the case is not removable.”).

8. See also Vigil v. Mora Indep. Sch., 841 F. Supp. 2d 1238, 1240-41 (D.N.M. 2012) (Hansen,

   J.). In Vigil v. Mora Independent Schools, for example, the state magistrate court held a

   hearing despite the defendant’s decision to remove the case. See 841 F. Supp. 2d at 1240. The

   Honorable C. Leroy Hansen, Senior United States District Judge for the District of New

   Mexico, held that the state hearing was “void ab initio,” adding that “the party who removed

   the case is not obligated to appear in state court and litigate the suit on the merits if the state

   court exercises jurisdiction in defiance of the removal.” 841 F. Supp. 2d at 1240-41; See

                                                    5
   Case 4:23-cv-00371-O-BP Document 20 Filed 05/02/23                   Page 6 of 10 PageID 151



   Exhibits A and B, for this exact violation by the Defendants.

9. The universal understanding of the state courts themselves acknowledging transfer of case

   jurisdiction into the federal court upon removal is very well documented even by the legal

   industry itself. See 14C Wright & Miller § 3736 (“According to a significant number of

   decided cases . . . any post-removal proceedings in the state court are considered coram non

   judice and will be vacated by the federal court even if the removal subsequently is found to

   have been improper and the case is remanded back to that state court.”). The great bulk of

   reported cases are consistent with this interpretation. See also 38 A.L.R. Fed. 824 (listing state

   cases holding that state courts “could not ignore allegedly deficient removal petitions”).


                      CONCLUSION AND PRAYER FOR RELIEF

      This state court was deprived of jurisdiction during removal, and its aforementioned

   rogue orders issued unlawfully during that same period of time were and are manifestly

   unjust, because they are both void ab initio. Plaintiff seeks simple relief as a question of

   law universally affirmed by all federal courts, all state courts, and the legal industry.

      Accordingly, this undersigned removal Petitioner is entitled under law: that the rogue

   state court orders knowingly issued without any jurisdiction post-removal are quashed.

   This Petitioner is also entitled to various other related remedial relief within these

   premises.


      WHEREFORE, the undersigned removal Petitioner prays the Court vacate, quash,

   enjoin, or otherwise annul the void state court orders complained of herein that were

   issued by the state court without jurisdiction during the former pendency of the prior



                                                    6
Case 4:23-cv-00371-O-BP Document 20 Filed 05/02/23               Page 7 of 10 PageID 152



removal action in this federal Court, and Movant also prays for all other true and just

and lawful relief within these premises.

  .

                                                 Respectfully submitted,



                                                  ______________________________


                                                  Lewis Brooks McKenzie
                                                  706 W. 4th St.
                                                  Clarksville, Texas 75426
                                                  Tel: 972-837-5678
                                                  Email: LBMTCU@gmail.com
                                                  Plaintiff-Petitioner Party of Record




                                             7
Case 4:23-cv-00371-O-BP Document 20 Filed 05/02/23                   Page 8 of 10 PageID 153



                                 CERTIFICATE OF SERVICE

   I hereby certify: that on this 2nd day of May, 2023, a true and complete copy of the above
notice by depositing same via certified first class postage prepaid mail, RRR via USPS, if not
performed via formal process server, has been duly served upon:


 (Statutory Intervenor United States)               (Statutory Intervenor United States)
 c/o U.S. Attorney General Merrick Garland          c/o U.S. Attorney Ashley C. Hoff
 Office of the United States Attorney General       Office of the U.S. Attorney TXWD
 U.S. Department of Justice                         903 San Jacinto Blvd
 950 Pennsylvania Avenue, NW                        Suite 334
 Washington, DC 20530-0001                          Austin, TX 78701

 (Cross-Defendant State of Texas)                   (Cross-Defendant State of Texas)
 State of Texas                                     State of Texas
 c/o Secretary of State Executive Office            c/o Attorney General W. Kenneth Paxton
 P.O. Box 12887                                     P.O. Box 12548
 Austin, TX 78711-2887                              Austin, TX 78711-2548

 (Cross-Defendant Holly Hayes)                      (Counter-Defendant Kelli Marie (Rayburn)
 Holly Hayes                                        McKenzie)
 c/o Child Support Enforcement                      Kelli Marie (Rayburn) McKenzie
 2001 Beach St., STE 800                            7913 Hannah St
 Fort Worth, Texas 75103-2300                       Plano, TX 75025-6203




                                                    ______________________________
                                                    Lewis Brooks McKenzie


                              CERTIFICATE OF CONFERENCE


I have attempted to confer with Defendants, but have received no reply to my communications to
date.
                                                    ______________________________
                                                    Lewis Brooks McKenzie




                                                8
Case 4:23-cv-00371-O-BP Document 20 Filed 05/02/23   Page 9 of 10 PageID 154



            Exhibit A. State Court Proceeding While Removed




                                    9
Case 4:23-cv-00371-O-BP Document 20 Filed 05/02/23   Page 10 of 10 PageID 155



           Exhibit B. State Court Warrant Issued While Removed




                                     10
